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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)

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     Attorneys for Aylstock, Witkin, Kreis & Overholtz,
     PLLC

     In re:                                                             Chapter 11

     LTL MANAGEMENT LLC,1                                               Case No.: 21-30589 (MBK)

                                       Debtor.                          Judge: Michael B. Kaplan

                                                                        Hearing Date and Time:
                                                                        February 15, 2022 at 10:00 a.m. (ET)

       NOTICE OF MOTION OF AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC
 O
         TO DISMISS BANKRUPTCY CASE AND JOINDER IN RELATED FILINGS

              PLEASE TAKE NOTICE that on February 15, 2022 at 10:00 a.m., or as soon thereafter

 as counsel may be heard, Aylstock, Witkin, Kreis & Overholtz, PLLC (“AWKO”), on behalf of

 thousands of holders of talc personal injury claims, through its undersigned counsel, shall move

 (the “Motion”) before the Honorable Michael B. Kaplan, United States Bankruptcy Judge, at the



 1
      The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
      Street, New Brunswick, New Jersey 08933.
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 United States Bankruptcy Court, Clarkson S. Fisher U.S. Courthouse, 402 East State Street,

 Trenton, New Jersey 08608, for the entry of an order dismissing this case pursuant to section

 1112(b) of the Bankruptcy Code and Rule 1017 of the Federal Rules of Bankruptcy Procedure.

        PLEASE TAKE FURTHER NOTICE that AWKO will rely upon the Motion

 submitted herewith pursuant to D.N.J. LBR 9013-1(a), as well as the arguments and evidence set

 forth in the TCC Motion and the A&I Motion (each as defined below), each of which AWKO

 joins and adopts.

        PLEASE TAKE FURTHER NOTICE that, pursuant to D.N.J. LBR 9013-2, responsive

 papers, if any, must be filed with the Clerk of the Bankruptcy Court, Clarkson S. Fisher

 Courthouse, 402 East State Street, Trenton, New Jersey 08608, and served upon AWKO’s

 undersigned counsel no later than seven (7) days prior to the hearing.

        PLEASE TAKE FURTHER NOTICE that, unless an objection is timely filed and

 served, the Motion will be deemed uncontested in accordance with D.N.J. LBR 9013-3(d) and

 the relief may be granted without a hearing.




                                                 2
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 DATED: December 29, 2021           Respectfully submitted,

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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
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     Attorneys for Aylstock, Witkin, Kreis &
     Overholtz, PLLC
     In re:                                                       Chapter 11

     LTL MANAGEMENT LLC,1                                         Case No.: 2130589 (MBK)

     Debtor.                                                      Judge: Michael B. Kaplan

                                                                  Hearing Date and Time:
                                                                  February 15, 2022 at 10:00 a.m. (ET)

      MOTION OF AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC TO DISMISS
             BANKRUPTCY CASE AND JOINDER IN RELATED FILINGS




 1
      The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
      Street, New Brunswick, New Jersey 08933.
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           Aylstock, Witkin, Kreis & Overholtz, PLLC (“AWKO”), on behalf of thousands of

 holders of talc personal injury claims, hereby moves, pursuant to section 1112(b) of the

 Bankruptcy Code, to dismiss the above-captioned bankruptcy case. AWKO also hereby joins

 and relies on the arguments and evidence set forth in the Motion of the Official Committee of

 Talc Claimants to Dismiss Debtor’s Chapter 11 Case [Docket No. 632] (the “TCC Motion”) and

 Arnold & Itkin LLP’s Motion to Dismiss [Docket No. 766] (the “A&I Motion”).

           As set forth in greater detail in AWKO’s prior filings,2 this bankruptcy case serves no

 legitimate reorganizational purpose. The Debtor3 is a newly-confected entity, created two days

 before the Petition Date as part of a series of corporate machinations intended to cleave off the

 personal injury liabilities of J&J and JJCI, saddle the Debtor with those liabilities, and then

 “ferry [those liabilities] into bankruptcy.”4 This corporate re-shuffling was a blatant actual intent

 fraudulent transfer through which J&J and JJCI sought to obtain certain powerful benefits of

 bankruptcy (e.g., the protection of the automatic stay) without subjecting themselves and their

 assets to the full scrutiny of the bankruptcy process. This Court should not allow J&J and JJCI –

 via the Debtor – to abuse the Bankruptcy Code to gain a litigation advantage against tens of

 thousands of suffering talc victims.




 2
     See generally Aylstock, Witkin, Kreis & Overholtz PLLC’s (I) Objection to Debtor’s Ex Parte Motion for an
     Emergency Hearing; (II) Preliminary Response to Debtor’s Emergency Motion to Enforce the Automatic Stay
     and (III) Joinder in Related Filings [Docket No. 103]; Opposition of Aylstock, Witkin, Kreis & Overholtz PLLC to
     Debtor’s Request for Preliminary Injunctive Relief [Docket No. 249]; Response of Aylstock, Witkin, Kreis &
     Overholtz, PLLC to Order to Show Cause Why Venue Should Not Be Transferred to Another District and Joinder
     in Certain Related Filings [Docket No. 346]; Opposition of Aylstock, Witkin, Kreis & Overholtz PLLC to
     Debtor’s Relief for Preliminary Injunctive Relief, Adv. Proc. No. 21-03032 [Adv. Docket No. 143].
 3
     Capitalized terms used but not defined herein have the meaning ascribed to them in the TCC Motion.
 4
     In re DBMP LLC, 2021 WL 3552350, at *13 (Bankr. W.D.N.C. Aug. 11, 2021).


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        For the reasons set forth herein and in the TCC Motion and the A&I Motion, AWKO

 respectfully requests that the Court dismiss this case pursuant to section 1112(b) of the

 Bankruptcy Code.


 DATED: December 29, 2021                  Respectfully submitted,

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